                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION


 UNITED STATES OF AMERICA,                                 )
                                                           )
                       Plaintiff                           )
                                                           )
                          vs.                              )       Case No. 20-cv-1036
                                                           )
 0.93 ACRES (0.478 ACRES FEE AND 0.448                     )
 ACRES EASEMENT), MORE OR LESS,                            )
 SITUATED IN DUBUQUE COUNTY, STATE                         )
 OF IOWA, AND CARLTON AND SHIRLEY                          )
 BUSCH, et al.,                                            )
                                                           )
                      Defendants.                          )


                            COMPLAINT IN CONDEMNATION

   1. This is a civil action brought by the United States of America at the request of the Federal

Aviation Administration for the taking of land in Dubuque County, Iowa, under its power of

eminent domain and through a Declaration of Taking, and for the determination and award of

just compensation to the owners and parties in interest.

   2. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1358.

The Court has venue under 28 U.S.C. § 1403.

   3. The authority for the acquisition is set forth in Schedule A, which is attached hereto and

made a part hereof.

   4. The public purpose for which the property is taken is set forth in Schedule B, which is

attached hereto and made a part hereof.

   5. A legal description of the property taken is set forth in Schedule C, which is attached

hereto and made a part hereof.


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   6. A plat (map) showing the property taken is set forth in Schedule D, which is attached

hereto and made a part hereof.

   7. A description of the estate taken is set forth in Schedule E, which is attached hereto and

made a part hereof.

   8. The amount estimated to be just compensation for the taking is set forth in Schedule F,

which is attached hereto and made a part hereof.

   9. The names and addresses of known parties having or claiming an interest in the property,

all of whom are named as defendants, are set forth in Schedule G, which is attached hereto and

made a part hereof.

       WHEREFORE, Plaintiff United States of America requests judgment that the property

and interests be condemned, that just compensation for the taking be ascertained and awarded,

and the Court award such other relief as may be lawful and proper.



DATED: September 1, 2020                            Respectfully submitted,

                                                    JEFFREY BOSSERT CLARK
                                                    Assistant Attorney General

                                                    /s/ Reade E. Wilson
                                                    Reade E. Wilson, ME Bar # 4992
                                                    Trial Attorney
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